
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00231-CR


______________________________




CLYDE WASHINGTON, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the County Court at Law


Bowie County, Texas


Trial Court No. 08M1072-CCL




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM  OPINION



	Clyde Washington appeals from his conviction by a jury of the offense of harassment.  See
Tex. Penal Code Ann. §&nbsp;42.07 (Vernon 2003).  The jury assessed his punishment at 120 days'
confinement and a fine of $2,000.00. (1)  Washington was represented by the public defender's office
at trial and by appointed counsel on appeal.  Washington's attorney has filed a brief in which she
concludes that the appeal is frivolous and without merit, after a review of the record and the related
law.

	Counsel states that she has studied the record and finds no error preserved for appeal that
could be successfully argued.  The brief contains a professional evaluation of the record and
advances two arguable grounds for review.  This meets the requirements of Anders v. California, 386
U.S. 738 (1967); Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991); and High v. State, 573
S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

	Counsel mailed a copy of the brief to Washington on April 2, 2009, informing Washington
of his right to examine the entire appellate record and to file a pro se response.  Counsel
simultaneously filed a motion with this Court seeking to withdraw as counsel in this appeal, and
requesting an extension of time for Washington to file his pro se response.  That extension was
granted by this Court until May 28, 2009.  Counsel also notified this Court in that motion that
Washington had not kept her office informed of his whereabouts since his release from custody and
that she was uncertain as to whether he had received the letter and brief she had mailed to him.  If
a criminal defendant fails to keep his attorney informed of his current address, he forfeits the right
to receive a copy of the Anders brief and the right to file a pro se response.  In re Schulman, 252
S.W.3d 403 (Tex. Crim. App. 2008).  Washington has not filed a response or a request for an
extension of time in which to file such a response. 

	We have determined that this appeal is wholly frivolous.  We have independently reviewed
the clerk's record and the reporter's record, and we agree that no arguable issues support an appeal. 
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  In a frivolous appeal
situation, we are to determine whether the appeal is without merit and is frivolous, and if so, the
appeal must be dismissed or affirmed.  See Anders, 386 U.S. 738.


	We affirm the judgment of the trial court. (2)





						Bailey C. Moseley

						Justice


Date Submitted:	July 2, 2009

Date Decided:		July 3, 2009


Do Not Publish
1. Washington appeals from four separate convictions of harassment in companion appeals,
cause numbers 06-08-00228-CR, 06-08-00229-CR, 06-00230-CR, and 06-00231-CR, in which
opinions are released this date.  He was sentenced in each case to 120 days' confinement, with the
sentences to run concurrently and fines of $2,000.00.
2. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Washington in this case.  No
substitute counsel will be appointed.  Should Washington wish to seek further review of this case
by the Texas Court of Criminal Appeals, Washington must either retain an attorney to file a petition
for discretionary review, or Washington must file a pro se petition for discretionary review.  Any
petition for discretionary review must be filed within thirty days from the date of either this opinion
or the last timely motion for rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2. 
Any petition for discretionary review must be filed with this Court, after which it will be forwarded
to the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R.
App. P. 68.3.  Any petition for discretionary review should comply with the requirements of Rule
68.4 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4.



pital in The Woodlands.  SANE nurse Nicole Triggs conducted the four-
to five-hour examination. 

	Nurse Triggs reported that Williamson was quiet, anxious, had minimal eye contact, was
nauseated, and was crying.  She noticed Williamson had bruising on her right upper lip and lower
left lip, which she testified could be consistent with a blow to the face.  Williamson had abrasions
on her left hip, upper left hip, left shoulder back area, lower right arm, forehead, and right back area. 
The abrasions on her upper arm and forehead were consistent with cigarette burns.  Triggs
determined Williamson had been strangled at maximum force after viewing an abrasion on
Williamson's neck and noticing that she was coughing, had difficulty breathing and swallowing, and
exhibited a hoarse, raspy voice.  The genital examination revealed bruises at Williamson's hymen
and urethral meatus, two tears at the posterior fourchette, and redness in the cervix caused by acute
or recent trauma.  Triggs concluded that Williamson had suffered physical and genital trauma which
was consistent with sexual assault rather than typical consensual sex.

 II.	Factually Sufficient Evidence Supports the Jury's Verdict

	A.	Standard of Review

	This Court has the ability to second-guess the jury to a limited degree when reviewing factual
sufficiency.  Roberts v. State, 220 S.W.3d 521, 524 (Tex. Crim. App. 2007).  We view the evidence
in a neutral light and determine whether the proof of guilt is obviously weak as to undermine
confidence in the verdict, or, if taken alone, is greatly outweighed by contrary proof so as to be
clearly wrong and unjust.  Lancon v. State, 253 S.W.3d 699, 705 (Tex. Crim. App. 2008);  Roberts,
220 S.W.3d at 524; Johnson v. State, 23 S.W.3d 1, 11 (Tex. Crim. App. 2000); Cain v. State, 958
S.W.2d 404, 407 (Tex. Crim. App. 1997); Harris v. State, 133 S.W.3d 760, 764 (Tex.
App.--Texarkana 2004, pet. ref'd). 

	However, since factual sufficiency is an issue of fact, we are not free to reweigh the evidence
and set aside a jury verdict merely because we feel a different result is more reasonable.  Clewis v.
State, 922 S.W.2d 126, 135 (Tex. Crim. App. 1996).  Instead, we give due deference to the jury's
determinations and will find the evidence factually insufficient only when necessary to prevent
manifest injustice.  Marshall v. State, 210 S.W.3d 618, 625 (Tex. Crim. App. 2006); Johnson, 23
S.W.3d at 8-9 &amp; 12; Clewis, 922 S.W.2d at 133 &amp; 135.  A high degree of skepticism about the
verdict is required before reversal can occur.  Roberts, 220 S.W.3d at 524; Martin v. State, 252
S.W.3d 809, 820 (Tex. App.--Texarkana 2008, pet. granted). 

	B.	Analysis

	Instead of addressing the factual sufficiency of the evidence presented above, Fox restates
his defensive theory, consensual sex, in an attempt to convince us that the evidence was insufficient. 
The facts supporting this theory are:  Gratz finally located Fox's sister after trying for six weeks and
asked her to have Fox call Gratz.  When Fox called, he said that, if Gratz wanted to speak with him
"regarding having sex with a women at -- from Bell's Camp, that it was a voluntary sex and that he
didn't do anything . . . inappropriate with her."  Fox also stated that "when he tried to have anal
intercourse . . . she told him she was going to say he raped her."  Fox argues that this admission,
combined with the fact that Fox dropped Williamson at her mother's house, supports his theory that
sex with Williamson was consensual.  

	In addition, Fox points out that Williamson had been drinking and left the bar with a man she
did not know.  Fox also discusses what he considers to be inconsistencies that he argues should lead
this Court to a high degree of skepticism of the jury's verdict.  He directs us to Williamson's
testimony that she went to the bar to look for her husband, who was violent and had beaten her in
the past, but she never told the bartender or Gratz that fact.  He states that, while Williamson testified
Fox choked her with both hands, with what Triggs described as maximum force, there was only a
.5 centimeter bruise on Williamson's neck.  Fox attempts to de-emphasize Triggs' conclusions that
the genital trauma suffered was not typical of consensual sex and could be consistent with sexual
assault by stating Triggs could not testify whether the bruises or abrasions she observed were recent. 
Without mentioning that Triggs found acute trauma on the cervix, Fox states Triggs found no acute
trauma on the vagina.  Although her clothes were dirty, stretched, and burned, Fox argues that the
clothes were not torn or ripped.  Finally, Fox directs the Court to an alleged lack of evidence by
stating that there were no photographs of Williamson's bruises and her panties were never recovered. 
According to Fox, the evidence of consensual sex greatly outweighed proof of his guilt such that the
jury's verdict was clearly wrong and unjust. 

	We do not agree.  The testimony elicited from Williamson, Casper, Gratz, and Triggs
described above is factually sufficient to support the jury's finding that the encounter with Fox was
not consensual.  The jury was free to consider and believe Williamson's recollection of the incident,
Casper's and Gratz's testimony about Williamson's demeanor and appearance, and Triggs' description
and findings from her observation and physical examination of Gratz.  Fox's first point of error is
overruled. 

III.	Fox Failed to Prove That Ineffective Assistance of Counsel Damaged His Defense


	A.	Standard of Review 

	From the record received by this Court, Fox bears the burden of proving that counsel was
ineffective by a preponderance of the evidence.  See Goodspeed v. State, 187 S.W.3d 390, 392 (Tex.
Crim. App. 2005) (any allegation of ineffectiveness must be firmly founded in record); Thompson
v. State, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999); Cannon v. State, 668 S.W.2d 401, 403 (Tex.
Crim. App. 1984).  We apply the two-pronged Strickland test handed down by the United States
Supreme Court to determine whether Fox received ineffective assistance of counsel.  Strickland v.
Washington, 466 U.S. 668 (1984).  Failure to satisfy either prong of the Strickland test is fatal.  Id.
at 697; Ex parte Martinez, 195 S.W.3d 713, 730 (Tex. Crim. App. 2006).  Thus, we  need not
examine both Strickland prongs if one cannot be met.  Strickland, 466 U.S. at 697.  

	Fox must first show counsel's performance fell below an objective standard of reasonableness
when considering prevailing professional norms.  Id. at 687-68.  Our review of counsel's
performance is highly deferential, and there is a strong presumption that counsel's conduct fell within
the wide range of reasonable professional assistance.  Id. at 689; Tong v. State, 25 S.W.3d 707, 712
(Tex. Crim. App. 2000).  Therefore, we will not second-guess through hindsight the strategy of
counsel at trial.  Blott v. State, 588 S.W.2d 588, 592 (Tex. Crim. App. 1979); Hall v. State, 161
S.W.3d 142, 152 (Tex. App.--Texarkana 2005, pet. ref'd).  Where the record is silent as to why
counsel failed to make an objection or take certain actions, we will assume it was due to any strategic
motivation that can be imagined, and the appellant will have failed to rebut the presumption that trial
counsel's actions were in some way reasonable. (3)  Mata v. State, 226 S.W.3d 425, 431 (Tex. Crim.
App. 2007); Garcia v. State, 57 S.W.3d 436, 441 (Tex. Crim. App. 2001); Fox v. State, 175 S.W.3d
475, 485-86 (Tex. App.--Texarkana 2005, pet. ref'd).  In other words, we will not conclude that the
challenged conduct is deficient unless it was so outrageous that no competent attorney would have
engaged in it.  Thompson, 9 S.W.3d 808; Fox, 175 S.W.3d at 485-86. 

	Next, it is not enough for Fox to show that the errors had some conceivable effect on the
outcome of the proceeding.  Strickland, 466 U.S. at 693.  To meet the second prong of the Strickland
test, Fox must show that the deficient performance damaged his defense such that there is a
reasonable probability that the result of the trial would have been different.  Id.; Tong, 25 S.W.3d
at 712.  We evaluate this factor while taking into consideration the totality of representation and the
particular circumstances of this case.  Thompson, 9 S.W.3d at 813; Ex parte Felton, 815 S.W.2d 733,
735 (Tex. Crim. App. 1991). Using these guiding principles, we will examine Fox's claims of
ineffective assistance of counsel.  

	B.	Failure to Object to Evidence That Fox Retained an Attorney

	Gratz testified that he received a call from an attorney hired by Fox.  Fox argues that
counsel's failure to object to this testimony fell below the range of reasonable professional assistance. 
Article 38.38 of the Texas Code of Criminal Procedure states:

		Evidence that a person has contacted or retained an attorney is not admissible
on the issue of whether the person committed a criminal offense.  In a criminal case,
neither the judge nor the attorney representing the state may comment on the fact that
the defendant has contacted or retained an attorney in the case.  


Tex. Code Crim. Proc. Ann. art. 38.38 (Vernon 2005). 

	We conclude that trial counsel may have failed to object to this inadmissible evidence for
strategic reasons.  Fox told Gratz that he would meet him at the police station on January 1, 2007,
but failed to do so.  Fox called and rescheduled for January 2, failed to show up, called to reschedule
the meeting for January 3, and again failed to meet with Gratz.  This testimony was in front of the
jury before Gratz stated he received a call from Fox's counsel on January 4, that he was assured Fox
would contact him on the 5th, but that Gratz never heard from either one again.  In Gratz's
cross-examination, the strategy for failing to object was revealed:

		Q.	If I'm a police officer, and I call you up on the phone and say, I want
to talk to you about a rape.  

			Tell the ladies and gentlemen of the jury what's the first thing you're
going to do. 


		A.	Call an attorney. 


		Q.	Absolutely.  Why is that?  


		A.	Because I know how the police operate.  


		Q.	They can trick people.  They can cajole them into saying things that
can be used, when necessarily taken out of context, it wouldn't be any big deal; but
the way it's used, it hurts them, right? 


		A.	That's correct.  It could be. 


		. . . .


		Q.	. . . So the fact that he called David Ryan -- now, you got to remember
the context that this is the very first part of the year.  Nobody's -- not many attorneys
would be working on December 31st or January 1st, right? 


		A.	Not that I know of. 


		Q.	. . .  So, the fact that you don't hear from an attorney until, what,
January the 4th, that shouldn't come as any surprise to you, should it?  


		A.	No, sir, that didn't.  


		. . . .


		Q.	And nobody should take any negative inference from the fact that he
hired a lawyer, didn't want to talk to you without a lawyer, and Mr. Ryan did or didn't
get ahold of you quick enough.  That's not my client's fault, is it? 


		A.	No, sir.


It is possible that counsel wanted the jury to determine that Fox's delay in meeting with Gratz was
due to his need to find an attorney so that he would not be tricked by the police, and was not due to
fear because of possible knowledge of guilt.  Without testimony that it may have been difficult to
hire an attorney around the holiday season, Fox's counsel may have had a hard time explaining Fox's
broken promises to meet with Gratz.    

	Since it is conceivable that counsel used this strategy, we will not second-guess it through
hindsight.  Further, Fox failed to brief or otherwise demonstrate how this error would have resulted
in a different outcome, especially in light of evidence that was factually sufficient to support the
verdict.  Because Fox failed to meet either prong of the Strickland test, this point of error is
overruled.

	C.	Extraneous Offense Objection 

	Next, Fox complains that extraneous offense evidence was introduced through testimony by
Williamson that Fox was "very controlling, very -- very instructive, very controlling.  He had done
this.  He knew what he was doing."  Fox's counsel objected to the statement, and an instruction to
disregard was given.  Now, Fox complains of his counsel's failure to ask for a mistrial.   

	Here, counsel protected Fox's rights by objecting and obtaining an instruction from the trial
court that the jury was to "disregard the last statement made by the witness."  This was accomplished
without mentioning an extraneous offense or a prior bad act.  Counsel obtained the desired relief
without calling to the jury's attention the specific rationale -- that it might be interpreted that the
witness was  insinuating that Fox had sexually assaulted others.  "The asking of an improper question
will seldom call for a mistrial, because, in most cases, any harm can be cured by an instruction to
disregard."  Ladd v. State, 3 S.W.3d 547, 567 (Tex. Crim. App. 1999) (quoting Hernandez v. State,
805 S.W.2d 409 (Tex. Crim. App. 1990)).  A mistrial is required only when the improper question
is clearly prejudicial to the defendant and is of such character as to suggest the impossibility of
withdrawing the impression produced on the minds of the jurors.  Id. 

	Fox focuses generally on extraneous offense caselaw, but does not establish how
Williamson's specific testimony was clearly prejudicial.  The statement "[h]e had done this" could
simply mean that Fox instructed Williamson in a controlling manner.  The statement that Fox "knew
what he was doing" could also just mean that he was in control.  We do not think these statements
clearly establish an introduction of another crime, wrong, or act as contemplated under Rule 404 of
the Texas Rules of Evidence.  Based on this ambiguous testimony, it is highly unlikely that a mistrial
would have been granted.  See Tex. R. Evid. 404.  Therefore, counsel's action in objecting and
obtaining an instruction to disregard the evidence was not deficient performance even though a
motion for mistrial was not requested.  This point of error is overruled.  

	D.	State's Punishment Reference

	In its opening statement, the State argued, "I think after you've heard all of this evidence,
you'll agree with me that this -- this jury will be convinced beyond a reasonable doubt and that this
man needs to spend the rest of -- as long as he can in the penitentiary."  During closing statement at
the guilt/innocence phase, the State contended Fox "doesn't need to be on the streets.  He needs to
spend the rest of his life in the penitentiary." 

	It is proper for the prosecution to make a plea for law enforcement.  Jackson v. State, 17
S.W.3d 664, 673 (Tex. Crim. App. 2000).  For this reason, not every reference to punishment at the
guilt/innocence stage is improper.  Wright v. State, 178 S.W.3d 905, 930 (Tex. App.--Houston [14th
Dist.] 2005, pet. ref'd).  The argument that the jury should get the defendant off the streets has been
held to be a proper plea for law enforcement.  Smith v. State, 114 S.W.3d 66, 72 (Tex.
App.--Eastland 2003, pet. ref'd).  Where, as here, the State's argument does not encourage the jury
to ignore its duties to decide guilt or innocence or suggest that punishment is the only real issue, the
punishment reference is not necessarily improper.  Wright, 178 S.W.3d at 930; Francis v. State, No.
02-05-00046-CR, 2006 WL 2034280, at *2 (Tex. App.--Fort Worth July 20, 2006, no pet.) (mem.
op., not designated for publication).      

 	More importantly, declining to object to a portion of the State's argument is an inherently
tactical decision based on the way the trial is unfolding and the trial strategy employed.  Taylor v.
State, 947 S.W.2d 698, 704 (Tex. App.--Fort Worth 1997, pet. ref'd).  Counsel could have made a
tactical decision not to draw attention to, or re-enforce the prosecutor's argument in front of the jury. 
Absent a record stating the reasons for counsel's failure to object, we will not second-guess counsel
through hindsight. 

	Further, Fox failed to brief or otherwise demonstrate how counsel's failure to object to these
statements would have resulted in a different outcome.  This point of error is overruled. 

	E.	Failure to Object to State's Use of the Word "Predator"  

	During closing argument, the State referred to Fox as a "predator" six times.  Fox contends
his counsel's failure to object to the use of this term constituted ineffective assistance of counsel. 

	There are four proper areas for jury argument:  1) summation of the evidence presented at
trial; 2) reasonable deduction drawn from the evidence; 3) answer to the opposing counsel's
argument; and 4) a plea for law enforcement.  Jackson, 17 S.W.3d at 673.  We have previously
explained that the use of the term "predator" can be interpreted as a description or deduction based
on the evidence.  Smith v. State, No. 06-05-00148-CR, 2006 WL 3246487, at *3 (Tex.
App.--Texarkana Nov. 10, 2006, no pet.) (mem. op., not designated for publication); see also Hines
v. State, 144 S.W.3d 90, 95 (Tex. App.--Fort Worth 2004, no pet.) (court decided failure to object
to use of term "predator" during closing argument not ineffective assistance of counsel because
failure to object could have been part of strategy not to draw attention to term). 

	While we do not condone the use of this term and even assuming this argument was
improper, Fox has failed to demonstrate how the alleged deficient performance damaged his defense
such that there was a reasonable probability that the jury's verdict would have been different.  This
point of error is overruled. 

	F.	Failure to Object to Prosecutor's Personal Opinion 

	Fox asserts that he was denied effective assistance of counsel when there was a failure to
object to the prosecutor's statements projecting his personal opinion that Fox was guilty.  The
following remarks were made to the jury in closing argument:


  	Our evidence isn't perfect, but I don't see how any of you could have any
reasonable doubt. 
  	I don't think any of you have any doubt. 
  	He needs to spend the rest of his life in the penitentiary. 
  	And I think the only possible verdict you can return is one of guilt. 
  	I don't think there's any reasonable doubt on the essential elements in this
case.  
  	And if you don't find this person guilty, then I don't think justice will have
been done. 



	The prosecutor may tell a jury that a conviction is expected based on the evidence.  Murray
v. State, 861 S.W.2d 47, 54 (Tex. App.--Texarkana 1993, pet. ref'd).  We believe these statements
amount to a plea for law enforcement based on a reasonable deduction from the evidence rather than
the prosecutor's personal opinion on guilt.  See McGee v. State, 689 S.W.2d 915, 918 &amp; 920-21
(Tex. App.--Houston [14th Dist.] 1985, pet. ref'd) (Prosecution's statement, "I will tell you
something.  If we can't get a conviction in that type of situation, we might as well forget trying to get
the drug pushers convicted in Galveston," was a summation of the evidence and a proper plea for
law enforcement.). 

	Nevertheless, in McGee, failure to object to closing argument when the prosecutor offered
a personal opinion of the defendant's guilt by stating, "You know as well as I do, in your hearts, that
Don Carols McGee is guilty," was held not to constitute ineffective assistance of counsel.  689
S.W.2d at 919-21; see Goodspeed v. State, 167 S.W.3d 899, 904 (Tex. App.--Texarkana 2005, no
pet.); see also Dockery v. State, No. 01-93-00956-CR, 1996 WL 32871, at *3 (Tex. App.--Houston
[1st Dist.] Jan. 25, 1996, no pet.) (not designated for publication) (Even though statement that "I
prosecute cases that we believe the defendant is guilty" was error, it was an isolated incident and did
not constitute ineffective assistance of counsel.). 

	As with the other points of error, Fox failed to demonstrate that failure to object was not part
of his counsel's strategy.  Counsel may have wanted to mitigate attention to the prosecutor's
comments or possibly feared the risk an overruled objection from which the jury might improperly
infer the judge's agreement with the prosecution.  Fox also failed to demonstrate his defense was
prejudiced in such a manner that the jury would have rendered a not guilty verdict absent the State's
comments.  This point of error is overruled. 

	G.	Failure to Object to the State's Remarks Regarding Fox's Attorney

	Next, Fox contends that the following comments made by the State during closing were
improper:


  	Davis is a good lawyer.  He did a good job in this case.  He didn't have much
to work with, but he did as good as he could. 
  	I'd like for you to not get sidetracked because he's [Fox's counsel] good at
that. 
  	Well, I may change my opinion of the lawyer.  I thought he was a good
lawyer.  That insults my intelligence, and I hope that it insults your
intelligence, every one of you. 
  	That insults my intelligence.  They have to come up with something, though.



	The State has a right to respond to arguments made by defense counsel.  A review of the
record clarifies that these statements were made to respond to Fox's consent defense.  Moreover,
even if these statements can be read as sidebar remarks, we do not think the absence of these
statements would have caused a different result, and we will not speculate on whether defense
counsel's inaction was contrary to any possible trial strategy.  Thomas v. State,  693 S.W.2d 7, 11
(Tex. App.--Houston [14th Dist.] 1985, pet. ref'd) (failure to object to sidebar remarks not
ineffective assistance).  

 	H.	Failure to Object to Use of Pen Packet During Punishment Phase  

	Pen packets are admissible to show a defendant's prior criminal record if they are properly
authenticated.  Cuddy v. State, 107 S.W.3d 92, 96 (Tex. App.--Texarkana 2003, no pet.). 
Certification by "the record clerk of the Texas Department of Criminal Justice, Institutional Division
. . . constitutes proper authentication of the copies of the judgment and sentence found in a pen
packet."  Id.; see Reed v. State, 811 S.W.2d 582, 586 (Tex. Crim. App. 1991). 

	Fox asserts that his counsel's failure to object to the authentication of the pen packet used to
enhance his sentence amounted to ineffective assistance of counsel.  The argument is that certified
copies of judgments for various cause numbers were attached, but the cause number for the
aggravated rape conviction used in the enhancement, number 340190, (4) was not included in the
certification.  When the State sought to admit the pen packet, Fox's defense counsel objected to it
as hearsay, but did not object to the authentication of the pen packet. (5)

	The indictment alleged that Fox had been previously convicted in cause number 0340190 in
the 185th Judicial District Court of Harris County, Texas, of aggravated rape.  During the
punishment trial, counsel for Fox acknowledged that he had previously been furnished a copy of the
pen packet.  The pen packet contained a copy of the conviction for aggravated rape in cause number
340190 from the 185th Judicial District Court of Harris County, Texas.  

	The pen packet was certified by an affidavit of record clerk Larry LeFlore, who was
"employed as the Chairman of Classification and Records for the Texas Department of Criminal
Justice - Correctional Institutions Division."  LeFlore stated, "I do hereby certify that the attached
information provided on inmate FOX, ROY LEE, TDCJ/BPP# 331714 Cause # 340100, 16989,
12845, 12514 are true and correct copies of the original records now on file in my office maintained
in the regular course of business."  LeFlore then attached records to his affidavit that he intended to
authenticate.  There was no cause number 340100.  Instead, an attached judgment for cause number
340190, the aggravated rape cause, was included.  It appears from the record that LeFlore simply
made a clerical error in stating that cause number 340100 was attached when in reality cause number
340190 was the attached judgment.  We do not find counsel's conduct deficient.  Even if a variance
existed between the cause number alleged in the enhancement count and that on the judgment,
reversal would be required only if Fox could show "prejudicial surprise."  Robinson v. State, 739
S.W.2d 795, 800 (Tex. Crim. App. 1987).  Here, there was no variance between the enhancement
allegation and the copy of the judgment of conviction in cause number 340190.  The proper
judgment of the prior conviction on Fox was contained in the pen packet that was certified by the
Department of Criminal Justice.  We do not believe it is incumbent on counsel to object to a matter
that clearly appears to be no more than a typographical error.   

 	Also, at the punishment phase in front of the trial court, Joseph Willis, a certified investigator
with the special prosecution unit, testified that the fingerprints he took of Fox in court matched the
fingerprint card attached to the pen packet in question.  He also testified that the records showed that
Fox was convicted of aggravated rape in Harris County in cause number 340190 and received a
twenty-five-year sentence on February&nbsp;9, 1982. 

	This punishment trial was presented to the trial court, not a jury.  Even if Fox had objected
to the typographical error and even if the trial court had sustained the objection, the State likely could
have been granted an opportunity to obtain a correction of this clerical error.  On these facts, we
cannot say that counsel's failure to object specifically to the authentication of the pen packet
constituted ineffective assistance of counsel.  See Hahn v. State, No. 05-06-00366-CR, 2007 WL
530007, at *1 (Tex. App.--Dallas Feb. 22, 2007, pet. ref'd) (not designated for publication) (when
other evidence of previous conviction presented, failure to object to admissibility of pen packet
during punishment hearing not ineffective assistance of counsel).  This point of error is overruled. 

	I.	Cumulative Error

	Finally, Fox argues that the cumulative effect of the foregoing matters resulted in an unfair
trial.  We are to judge the totality of the representation and the particular circumstances of each case
in evaluating the effectiveness of counsel.  Thompson, 9 S.W.3d at 813.  In this case, we have
reviewed the entire record and find that, among other things, counsel for Fox filed a motion to allow
Fox to testify without being impeached, cited the trial court proper authority, obtained rulings from
the trial court, requested and was allowed  a pretrial hearing on the chain of custody of evidence,
presented a thorough voir dire examination of the jury panel, successfully challenged several jurors
for cause, cross-examined the witnesses, objected to many of the State's exhibits, including the
medical history and the SANE records, presented proper jury arguments, and essentially acted in a
professional and competent manner.  We do not find the overall actions of counsel to be deficient. 

	Because we find the evidence factually sufficient to support the jury's verdict of guilt and
determine that Fox had effective assistance of counsel, we affirm the judgment of the trial court.  






						Jack Carter

						Justice


Date Submitted:	November 10, 2008

Date Decided:		November 13, 2008


Do Not Publish


1. Fox's sentence was enhanced due to a previous conviction of aggravated rape. 
2. This case has been transferred to this Court as part of the Texas Supreme Court's docket
equalization program.
3. Even though a motion for new trial was filed, it did not raise ineffective assistance of
counsel and no hearing was conducted on the motion.  Consequently, the record is silent concerning
the rationale for trial counsel's actions during trial. 
4. For court record-keeping purposes, cause numbers 0340190 and 340190 are mathematically
the same.  This variance is not complained of on appeal.
5. This was not an improper objection.  If the record was actually not authenticated, then it
would have been subject to a hearsay objection.  But we agree counsel should make a more specific
objection to preserve the issue of authentication.  

